                                            3:19-cv-03178-SLD # 13              Page 1 of 10
                                                                                                                         E-FILED
                                                                                       Monday,
                                                                                          Friday,
                                                                                               30 11
                                                                                                  September,
                                                                                                     October, 2019 12:53:33
                                                                                                                       04:16:07 PM
                                                                                                   Clerk, U.S. District Court, ILCD

                                            United States District Court
                                                   CENTRAL DISTRICT OF ILLINOIS




                                       Plaintiff

                              vs.                                                     Case No.
                                                                           (The case number will be assigned by the clerk)




                                                                                                 SE P. 3 0 2019

- - -. . . . . . - - - - - - - - - - - - - ~,r ----..
                                                               )
                                       Defendant(s)            )

        (List the full name of ALL plaintiffs and defendants in the caption above.         If you need more room, attach a
        separate caption page in the above format) A\'\.e,.Mffi,

                                               ,           COMPLAINT*
               ~      U, S~G lq \5                 \(\ \~\f\ U\e_     .-\-   or:+rJ ,e.r L,v ith fl Se({ous Cljur.r;·
       Indicate elow the federal legal basis for your complain , I/known. ' This-, vrm is designed primarily for prose
       prisoners challenging the constitutionality of their conditions of confinement, claims which are often brought
       under 42 USC§ 1983 (against state, county, or municipal defendants) or in a "Bivens" action (agdinstfederal
       defendants). However, 42 USC§ 1983 and "Bivens " do not cover all prisoners' claims. Many prisoners'
       legal claims arise from other federal laws. Your particular claim may be based on different or additional
       sources offederal law. You may adapt this form to your claim or draft your own complaint.

       ¥...,   42 U.S.C . § 1983 (state, county or municipal defendants)

       •       Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)(federal defendants)

       •       Other federal law:


       D       Unknown
                         --------------------------------


                                                   I. FEDERAL JURISDICTION


                 *Please refer to the instructions when filling out this complaint. Prisoners are not required to
                use this form or to answer all the questions on this form in order to file a complaint. This is not
                the form to file a habeas corpus petition.
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        Jurisdiction is based on 28 U.S.C. § 1331, a civil action arising under the United States Constitution or
other federal law. (You may assert a different jurisdictional basis, if appropriate).

                                                               II. PARTIES

A. Plaintiff:

           Full Name:       .Ken11<~ ,)::; '\                             Ay~1rL
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           Prison Identification Number: ___...::;_=-=-     t; o.=.-- - - - - - - - - - -
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For additional plaintiffs, provide the information in the same format as above on a separate page. If there is
more than one plaintiff, each plaintiff must sign the Complaint, and each plaintiff is responsible for paying his
or her own complete, separate filing fee.

B. Defendants

   Defendant # 1:




                -      <,   0
  Defendant #2:

         Full Name:

         Current Job Title:

         Current Work Address            ------=--=--·. . .b'--'~-e~x=..._.._,_6+-t-· \~~\P_t_l/
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  Defendant #3:

         Full Name:                 foi, \, (        sm, +h,
         Current Job Title:          __       _,L=--....,
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            Current Work Address    s her I   Pi flzft             ice
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     Defendant #4:

            Full Name:

            Current Job Title:

            Current Work Address-----'/'.--_ 0_>
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     Defendant #5:

            Full Name:

           Current Job Title:             = ·Jl;I =!le-0clh                                                 StllPP
           Current Work Address   ----i(_ . . . .     · h_,__&
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 For additional defendants, provide the information in the same format as above on a separate page.


                                              III. LITIGATION HISTORY

          The "three strikes rule" bars a prisoner from bringing a civil action or appeal in forma pauperis in
federal court ifthat prisoner has "on 3 or more occasions, while incarcerated or detained in anyfacility, brought
an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury." 28 USC§ 1915(g).

A. Have you brought any other lawsuits in state or federal court dealing with the same facts involved
                                                            ~
in this case?             Yes    •               No

If yes, please describe _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




B. Have you brought any other lawsuits in federal court while incarcerated?

Yes1                No   •

C. If your answer to B is yes, how many?         3{                Describe the lawsuit(s) below.

                                                                       3
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           I. Name of Case, Court and Docket Number
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           2._ Basic claim made '?I: ""-"'-<l VS! • 0,. ,e_, (' Q<>dj ½ei 1,._, :\--,.J1n
                   VY'\r.,/\e.,,~ dANS€..f' G fL Se.rUN) \'h}Su2.4-l ~A...~Vr ~ -
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                                                                                                                       J "
           3.     isposition (That is, how did the case end? Was the case dismissed? Was i appealed? Is it still

       pending?)   ~ '0i"lf' G \ Si¾, () Snxvie, 'a;;. cL Jr,,,/ '_(
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       For additional cases, provide the above information in the same format on a separate page.



                                 IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

               Prisoners must exhaust available administrative remedies beforefiling an action in federal court about
     prison conditions. 42 US. C. § 1997e(a). You are not required to allege or prove exhaustion of administrative
     remedies in the complaint. However, your case must be dismissed if the defendants show that you have not
     exhausted your administrative remedies, or iflack ofexhaustion is clearfrom the complaint and its attachments.
     You may attach copies of materials relating to exhaustion, such as grievances, appeals, and official responses.
     These materials are not required to file a complaint, but they may assist the court in understanding your claim.

    A. Is there a grievance procedure available at your institution? Yes       •     No

    B. Have you filed a grievance concerning the facts relating to this complaint?

                      Yes      No   •
    If your answer is no, explain why not _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


    C. Is the grievance process completed?         Yes ·      No D




                                               V. STATEMENT OF CLAIM

    Place(s) of the occurrence _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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                                                            3:19-cv-03178-SLD # 13                      Page 6 of 10



             Date( s) of the occurrence ______._
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                                                                                          . . .~q~------
            State here briefly the FACTS that support your case. Describe what each defendant did to violate your federal
            rights. You do not need to give any legal arguments or cite cases or statutes. Number each claim in a separate
            paragraph. Unrelated claims should be raised in a separate civil action.

            THE COURT URGES YOU TO USE ONLY THE SPACE PROVIDED. Federal Rule of Civil Procedure 8(a)
            requires only a "short and plain statement" ofyour claim showing that you are entitled to relief It is best to
            include only the basic, relevant facts, including dates, places, and names.
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                     3:19-cv-03178-SLD # 13    Page 10 of 10




JURY DEMAND                  No     •




Name of Plaintiff:




Address:     _                          Telephone Number:
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